  Case 1:16-cr-00068-RDA Document 18-1 Filed 03/15/22 Page 1 of 1 PageID# 45



                      IN THE UNITED STATES DISTRICT COURT FOR THE
                             EASTERN DISTRICT OF VIRGINIA
                                      Alexandria Division


 UNITED STATES OF AMERICA

        v.                                                  Case No. 1:16-CR-68

 HALIL FALYALI,

        and

 HUSNU FALYALI,

        Defendants.

                                          ORDER

       Upon Motion of the United States to dismiss the Indictment and vacate the pending Arrest

Warrants in the above-captioned case, as to defendants HALIL FALYALI and HUSNU

FALYALI, it is hereby ORDERED, that the Indictment against HALIL FALYALI and HUSNU

FALYALI in the above-captioned case is dismissed, without prejudice, and the Arrest Warrants

vacated as to defendants HALIL FALYALI and HUSNU FALYALI.




                                            The Honorable Liam O’Grady
                                            UNITED STATES DISTRICT JUDGE

 Alexandria, Virginia

 Date: __________________
